                       UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF MASSACHUSETTS

MICHAEL L. TAYLOR and                     )
PETER M. TAYLOR,                          )
                                          )
  Petitioners,                            )
                                          )
        v.                                )   Case No. 4:20-cv-11272-IT
                                          )
JEROME P. MCDERMOTT,                      )   Leave to File Excess Pages
Sheriff, Norfolk County, Massachusetts,   )   Granted on July 22, 2020
and JOHN GIBBONS, U.S. Marshal,           )
District of Massachusetts,                )
                                          )
  Respondents.                            )


        RESPONDENTS’ OPPOSITION TO PETITIONERS’ MOTION FOR A
       PRELIMINARY INJUNCTION AND RESPONSE TO HABEAS PETITION
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                                                                                  v
         The Respondents, Jerome P. McDermott, Sheriff, Norfolk County, Massachusetts, and John

Gibbons, U.S. Marshal, District of Massachusetts, through their undersigned counsel, respectfully

submit this memorandum of law in opposition to Michael L. Taylor’s and Peter M. Taylor’s

(“Petitioners”) “Motion for Preliminary Injunction” and in response to their “Emergency Petition for

Habeas Corpus Pursuant to 28 U.S.C. § 2241 and Injunctive Relief.”1

                                               INTRODUCTION

         Petitioners are international fugitives from justice. They are alleged to have entered Japan’s

sovereign territory for the sole purpose of enabling the escape of Carlos Ghosn Bichara (“Ghosn”),

the multimillionaire former CEO and Chairman of the Board of Directors of Nissan Motor Co., Ltd.

(“Nissan”), who was indicted in Japan for committing financial crimes. Petitioners’ alleged plot to

smuggle Ghosn out of Japan was one of the most brazen and well-orchestrated escape acts in recent

history, involving a dizzying array of luxury hotel meetups, fake personas, bullet train travel, and the

chartering of a private jet. Ultimately, Ghosn was hidden in a large black box, spirited out of Japan in

the private jet without detection by Japanese authorities, and transported to Lebanon. Lebanon has

no extradition treaty with Japan and thus Ghosn was able to thwart Japan’s criminal process.

Petitioners, for their part, were paid handsomely by Ghosn. Bank records reflect wire transfers in

October 2019 totaling $862,500 from Ghosn to a company managed by Peter Taylor.2 Then, in the

first five months of this year, Ghosn’s son, Anthony Ghosn, made cryptocurrency payments to Peter

Taylor totaling approximately $500,000.3 Recently, Ghosn told reporters that he is “helping everyone

who stood by me as much as I can, financially and in any way I can.”4


1 See Docket Entry (DE) 1 (“Petition or “Pet.”) and DE 2, 38 (“Motion”).
2 See Ex. A (wire transfer records) and Ex. B (corporate record).
3 See Ex. C (Coinbase letter dated July 20, 2020). Coinbase included in its submission to Japan a digital, unsigned version

of the letter, in addition to the signed version, because the scanning of the signed version lessened the clarity of the
included charts.
4
  See Ex. D, Carlos Ghosn Helping Those Who Helped Him Flee to Lebanon, ASSOCIATED PRESS, July 12, 2020.
                                                             1
          Ghosn escaped on December 29, 2019. On January 30, 2020, the Tokyo District Court issued

arrest warrants for Petitioners. Upon learning that Petitioners had flown to Massachusetts from

Dubai, United Arab Emirates, the government of Japan submitted to the United States requests for

their provisional arrests under the countries’ bilateral extradition treaty (the “Treaty”).5 The United

States acted on those requests by filing complaints in this District and obtaining arrest warrants issued

by Magistrate Judge Cabell. Those arrest warrants were executed on May 20, 2020, the same day that

Peter Taylor was supposed to return to Lebanon, where he had been living for the past 15 months.

Japan submitted its formal requests for Petitioners’ extraditions within the Treaty deadline.

          On June 8, 2020, nearly three weeks after their arrests, Petitioners filed a motion seeking to

quash the arrest warrants or to be released on bail pending extradition proceedings.6 Petitioners’

principal argument was based on matters of pure Japanese law which they characterized as “close and

complicated,” and “highly technical.”7 On July 7, 2020, Magistrate Judge Cabell denied the motion in

an electronic order, which was followed by a written opinion dated July 10, 2020 (“Op.”).8

          The Petition and Motion should both be denied. As a threshold matter, Petitioners are

improperly attempting to bypass the extradition proceedings by seeking a probable cause

determination from this Court before Magistrate Judge Cabell decides that issue at the statutorily

required extradition hearing. See 18 U.S.C. § 3184. As the Supreme Court has made clear, it is the

habeas court that reviews a Magistrate Judge’s probable cause determination, not the other way



5 See Ex. E, Treaty on Extradition Between the United States of America and Japan, U.S.-Japan, Mar. 26, 1980, 31 U.S.T.
892.
6 See In the Matter of the Extradition of Michael L. Taylor, Case No. 20-MJ-1069 (D. Mass), DE 17; In the Matter of the Extradition

of Peter M. Taylor, Case No. 20-MJ-1070 (D. Mass), DE 17. All citations to these extradition dockets will begin with the
prefix “EX DE.” As the dockets are substantially similar, citations will only reference 20-MJ-1069.
7 See EX DE 28 (Reply Brief) at 8; EX DE 33 at 1 (Reply to Government’s Response.)
8 See EX DE 40 (electronic order); EX DE 41 (Memorandum on [Taylors’] Motion to Quash Arrest Warrants or for

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                                                                   2
around. See Fernandez v. Phillips, 268 U.S. 311, 312 (1925). Regarding the subject that is properly before

the Court—detention during the pendency of the extradition proceedings—Magistrate Judge Cabell

properly found that Petitioners had not met their burden to show both that special circumstances

warrant their release and that they are not flight risks.

        First, none of the facts cited by Petitioners constitute special circumstances warranting their

release. Petitioners argue that they have a high likelihood of success on the merits but then fail to cite

in their 40-page Motion a single analogous case where extradition was actually denied. Petitioners’

defenses are premised on a flawed interpretation of Japanese law that contravenes the plain language

of the relevant statute, Japanese caselaw, the probable cause finding of the Tokyo District Court, and

the explanations provided by Japan regarding its own laws. Thus, while Petitioners may claim that

this is a “close and complicated” issue, one thing is certain: It is not grounds for habeas relief.

        The other factors cited by Petitioners also do not constitute special circumstances warranting

release. The government does not dispute the seriousness of COVID-19. However, Petitioners have

not shown, as they concede they must, that the virus is “more or less unique to the supplicant[s]”

rather than “one that is applicable to extraditees generally” (Motion at 30). Peter Taylor is a 27 year

old with no reported medical conditions. While Michael Taylor notes that he underwent a partial

lobectomy several years ago, he has not submitted any recent medical records reflecting the current

state of his health and he was fit enough to engage in lengthy worldwide travel earlier this year.

Further, the facility in which Petitioners are detained currently has no reported COVID-19 cases and

the unit in which they are housed has never had any positive cases.

        Second, even if Magistrate Judge Cabell erred in finding there were no special circumstances,

Petitioners should still remain detained because he properly concluded that they have not met their

burden to show they are not flight risks. The very offense for which Petitioners’ extradition is sought

                                                     3
demonstrates their aptitude for hatching escape plans on a grand scale and their blatant disrespect for

bond conditions. Moreover, Petitioners themselves admit that they have extensive family and business

ties to countries in the Middle East that have no extradition treaties with Japan or the United States.

Indeed, Peter Taylor admittedly spent most of the 15 months prior to his arrest residing in Lebanon

and planned to return there to “carry on with his life and conduct his business” (EX DE 17 at 29-30)

the day he was arrested. Michael Taylor, for his part, was previously found to be a flight risk and a

danger to the community when he was being prosecuted for felony offenses in a domestic case in

which he ultimately pled guilty. The alleged facts in the instant matter demonstrate that little has

changed since that time except that Petitioners now have access to Ghosn’s vast resources with which

to flee. While Petitioners ask this Court to take their word that they would not engage in an escape

act similar to the one that they masterminded seven months ago, they concede “[t]he best predictor

of future performance is past behavior” (Motion at 27).

          The balance of the equities also does not favor granting habeas relief. Petitioners waited nearly

three weeks to contest detention and have since shown little interest in expediting the extradition

proceedings before Magistrate Judge Cabell. Notably, on July 6, 2020, the government submitted to

Petitioners’ counsel a proposed scheduling order for the extradition proceedings and never received a

response. Particularly given the fact that they have not contested the underlying facts of the case and

their Japanese legal defenses are meritless, Petitioners’ claim of irreparable injury from continued

detention carries less weight. Conversely, there could be severe diplomatic repercussions if Petitioners

were released and fled these proceedings. Although Petitioners contend such concerns are overblown,

respectfully, they are not charged with conducting foreign policy. The Petition and Motion should be

denied.



                                                     4
                                         BACKGROUND

I.      LEGAL BACKGROUND

        “Extradition is largely a concern of the Executive Branch” with a limited role carved out for

the judiciary pursuant to the federal extradition statute, 18 U.S.C. § 3184. Drumm v. McDonald, No. 15-

cv-14221, 2016 WL 111411, at *4 (D. Mass. Jan. 11, 2016). Pursuant to Section 3184, the extradition

court must conduct an extradition hearing and make a probable cause determination under “the

same . . . standard used in federal preliminary hearings.” Noeller v. Wojdylo, 922 F.3d 797, 803 (7th Cir.

2019) (quoting Hoxha v. Levi, 465 F.3d 554, 561 (3d Cir. 2006)). However, the country seeking

extradition is not otherwise “required to try its case in a United States court.” Id. at 804.

        If the extradition court finds that the fugitive is extraditable, it so certifies such findings to the

Secretary of State, who ultimately decides whether to extradite the fugitive. See 18 U.S.C. §§ 3184,

3186. The extradition court’s certification order is not subject to direct appeal; however, limited

collateral review is available by way of a petition for a writ of habeas corpus. One of the permissible

inquiries on habeas review is whether there was “any evidence” supporting the magistrate’s probable

cause determination. See Fernandez, 268 U.S. at 312; Hilton v. Kerry, 754 F.3d 79, 86 (1st Cir. 2014).

        “There is a presumption against bail in extradition cases and only special circumstances justify

release on bail.” United States v. Kin-Hong, 83 F.3d 523, 524 (1st Cir. 1996) (internal quotation marks

and citation omitted). Moreover, even if the fugitives carry their burden to show special circumstances

exist, they must also show that they are not flight risks or dangers to the community. See, e.g., Drumm,

2016 WL 111411, at *2. The “majority rule” is that the fugitive must meet this standard with “clear

and convincing evidence.” Nezirovic v. Holt, 990 F. Supp. 2d 594, 599 n.1 (W.D. Va. 2013).

II.     STATEMENT OF THE FACTS

        The facts of this case have never been in dispute. Japan alleges Petitioners enabled Ghosn to

                                                      5
flee Japan while he was awaiting trial for financial crimes he is alleged to have committed while serving

as Nissan’s CEO and/or Chairman of the Board of Directors.9 Ghosn’s alleged crimes include

conspiring with others to falsely state his compensation in Nissan’s Annual Reports and shifting

financial losses of his asset management company to Nissan. Ghosn was arrested, indicted, and

released on bail for these alleged crimes.

         In the months leading up to Ghosn’s escape, Peter Taylor traveled to Japan at least three times,

during which he met with Ghosn at least seven times. The day before the escape, on December 28,

2019, Peter Taylor arrived in Japan and proceeded to the Grand Hyatt Tokyo. He checked into Room

933 and met later that afternoon with Ghosn in the lobby of the hotel. On December 29, 2019—the

day of the escape—Michael Taylor and George Antoine Zayek traveled on a private jet from Dubai,

United Arab Emirates, to Kansai International Airport in Japan.10 The chartering of the jet appears

to have cost $350,000. See Ex. G (MNG Jet Single Charter Agreement). The two men landed at

approximately 10:10 a.m. transporting, among other things, two large black boxes, and they told

airport workers that they were musicians. They then proceeded to the Star Gate Hotel Kansai Airport,

where they checked into rooms 4009 and 4609, and deposited the two large boxes into Room 4609.

They then left the hotel and boarded a bullet train bound for Tokyo Station.

         At approximately 2:30 p.m., while Michael Taylor and Zayek were making their way to Tokyo,

Ghosn left his house without luggage, walked to the Grand Hyatt Hotel Tokyo, and went to Peter

Taylor’s room where he changed his clothes. Michael Taylor and Zayek arrived in Tokyo at

approximately 3:24 p.m. They joined Peter Taylor and Ghosn at the Grand Hyatt and entered Room



9 Unless otherwise noted, the facts set forth herein are principally derived from the factual summary contained in Japan’s

“Request for Extradition of Michael L. Taylor” and Japan’s substantially similar “Request for Extradition of Peter Maxwell
Taylor.” The government attaches the former document hereto as Ex. F.
10 Michael Taylor has not disclosed when he traveled to Dubai but based on information received from U.S. law

enforcement, the government believes he left the United States on November 26, 2019.
                                                              6
933. Then, all four men exited Room 933 together, carrying luggage. Peter Taylor separated from the

rest of the group and traveled to Narita Airport where he boarded a flight to China. Meanwhile,

Ghosn, Michael Taylor, and Zayek traveled back to the Star Gate Hotel in Kansai.

            At approximately 8:14 p.m., Ghosn, Michael Taylor, and Zayek arrived back at the Star Gate

Hotel. At approximately 9:00 p.m., Michael Taylor went to Kansai International Airport by himself

and approached an employee of the business-jet facility. See Ex. H (Record of Statement of Kayoko

Tokunaga). Michael Taylor asked the employee whether they would be going through a security check

when they departed, to which the employee replied no. Id. Michael Taylor subsequently handed the

employee a “bundle of 10,000 yen bills, bundled by a hair elastic band.” Id. The employee estimated

that there was more than one million yen (more than $9,300 using current conversion rates) in the

bundle. Id.11 Michael Taylor then returned to the hotel.

            At approximately 9:57 p.m., Michael Taylor and Zayek left Room 4609 with luggage, including

the two large boxes, and departed for Kansai International Airport. There is no image of Ghosn

leaving Room 4609. Instead, Ghosn was hiding in one of the two large black boxes being carried by

Michael Taylor and Zayek. Michael Taylor and Zayek arrived at Kansai International Airport at

approximately 10:20 p.m. Once at the airport, their baggage passed through the security checkpoint

without being screened and was loaded onto a private jet. Michael Taylor and Zayek boarded the jet

and departed for Turkey at approximately 11:10 p.m. Two days later, on December 31, 2019, Ghosn

made a public announcement that he was in Lebanon. Petitioners, for their part, did not immediately

return to the United States following Ghosn’s escape. Instead, they remained in Lebanon and/or the

United Arab Emirates for approximately eight weeks in the case of Michael Taylor and eleven weeks

in the case of Peter Taylor. See EX DE 17 at 6 (Petitioners state Michael Taylor returned on February


11   The airport staff decided to return the money to Michael Taylor before he departed. Id.
                                                              7
23, 2020 and Peter Taylor returned on March 15, 2020).

         Japan’s evidence, which they have submitted in support of their extradition request, includes

video surveillance recordings, witness statements, meeting records, hotel records, and other proof

indicating that Petitioners were behind Ghosn’s escape. Petitioners do not deny these facts.

III.     PROCEDURAL HISTORY

         Judge Yukiko Yomori of the Tokyo District Court issued warrants for Petitioners’ arrests on

January 30, 2020, and those warrants were renewed by Judge Yomori on February 28, 2020, when

Petitioners remained at large. See Ex. I (original arrest warrant); Ex. J (renewed arrest warrant). Japan

submitted to the United States requests for Petitioners’ provisional arrests under Article IX of the

Treaty after learning they had returned to the United States from Dubai. On May 6, 2020, the

government acted on the provisional arrest requests by filing complaints in this District and obtaining

arrest warrants issued by Magistrate Judge Cabell, which were executed on May 20, 2020. See EX DE

1. On June 29, 2020, Japan transmitted its formal extradition requests to the State Department. See

Ex. K.

         Petitioners have been detained since their arrests. On June 8, 2020, they filed a motion to

quash the arrest warrants or, alternatively, for release pending extradition proceedings. See EX DE

17. Thereafter, the parties engaged in extensive briefing, a hearing was held on June 22, 2020, and

there were multiple rounds of post-hearing submissions. On July 7, 2020, within two business days

of Petitioners’ final post-hearing submission, Magistrate Judge Cabell issued an electronic order

denying Petitioners’ motion, and three days later he issued a written opinion. See EX DE 40, 41.

IV.      RULING UNDER REVIEW

         In his Opinion, Magistrate Judge Cabell set forth the well-established presumption against bail

in extradition cases and reviewed the applicable caselaw, which reflects the fact that “courts have

                                                   8
granted bail in only truly remarkable circumstances and often when multiple special circumstances

bear in the [fugitive’s] favor.” Op. at 6. Applying the foregoing standard to the facts present here,

Magistrate Judge Cabell found that Petitioners had not met their burden to show that their release was

warranted by “special circumstances” and that they were not flight risks. In so finding, Magistrate

Judge Cabell rejected Petitioners’ argument that they had a likelihood of success on the merits of their

claim that Article 103 of the Japanese Penal Code does not apply to their conduct. Specifically,

Magistrate Judge Cabell found that Petitioners “would appear to fall squarely within the heartland of

this portion of Article 103 where Ghosn had been charged with a crime and the [Petitioners] then

reportedly harbored and/or helped him to escape to avoid prosecution.” Id. at 9. Magistrate Judge

Cabell also found Petitioners’ heavy emphasis on the fact that “bail jumping” is not a crime in Japan

to be misplaced because they “have not been charged as accessories to Ghosn’s bail jumping, but

rather have been charged as principals for harboring or enabling a criminal’s escape.” Id. at 10 n.5.

Magistrate Judge Cabell further explained why none of the other factors cited by Petitioners, including

COVID-19, constituted a special circumstance. Id. at 10-15.

       In addition, Magistrate Judge Cabell found that Petitioners had not carried their burden to

show they are not flight risks. Magistrate Judge Cabell noted their roles in the planning and execution

of a “most intricate, sophisticated, and deceptive scheme spanning several countries and most surely

requiring massive expenditures of time and money.” Id. at 17. Regarding Michael Taylor specifically,

Magistrate Judge Cabell examined the proffered reasons why he would not flee and found that they

“do not come close to mitigating the risk that would otherwise be posed by his release, particularly

where he has strong ties to Lebanon and apparently has (along with Peter Taylor) substantial resources

that could be exploited.” Id. Regarding Peter Taylor specifically, Magistrate Judge Cabell also noted



                                                   9
his strong ties to Lebanon, including the fact that he “recently resided there while trying to establish

the family’s business.” Id. at 18.

                                             ARGUMENT

        Petitioners have not carried their burden to show that they are “in custody in violation of the

Constitution or laws or treaties of the United States.” See 28 U.S.C. § 2241(c)(3). Accordingly,

Petitioners’ habeas petition and motion for a preliminary injunction should be denied.

I.   STANDARD OF REVIEW

        There are several standards of review applicable to the instant Petition and Motion.

        First, “the burden of proof under § 2241 is on [Petitioners].” See, e.g., Espinoza v. Sabol, 558

F.3d 83, 89 (1st Cir. 2009).

        Second, a preliminary injunction “is an ‘extraordinary remedy’ that may only be entered if the

plaintiff makes a clear showing that it is entitled to such relief.” Cavalier Coach Corp. v. Foxx, No. 14–

cv–12499, 2014 WL 2711922, at *1 (D. Mass. June 13, 2014) (Talwani, J.) (quoting Winter v. Natural

Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)). To secure a preliminary injunction, Petitioners must show:

“(1) a substantial likelihood of success on the merits, (2) a significant risk of irreparable harm if the

injunction is withheld, (3) a favorable balance of hardships, and (4) a fit (or lack of friction) between

the injunction and the public interest.” NuVasive, Inc. v. Day, 954 F.3d 439, 443 (1st Cir. 2020) (internal

quotation marks and citation omitted). “The sine qua non of this four-part inquiry is likelihood of

success on the merits: if the moving party cannot demonstrate that he is likely to succeed in his quest,

the remaining factors become matters of idle curiosity.” New Comm Wireless Servs., Inc. v. SprintCom,

Inc., 287 F.3d 1, 9 (1st Cir. 2002).

        Third, review of a Magistrate Judge’s bail determination in the extradition context “is limited

to the issue of whether or not there were reasonable grounds for the Magistrate Judge’s denial of bail.”

                                                    10
 Kin-Hong v. United States, 926 F. Supp. 1180, 1184 (D. Mass. 1996), rev’d on other grounds, Kin-Hong, 83 F.

 3d at 525. “In applying the [reasonable grounds] standard, the court defers to the Magistrate Judge’s

 factual findings, unless they are unsupported by the record, but reviews the Magistrate Judge’s legal

 determinations de novo.” Id.; see also Drumm, 2016 WL 111411, at *3 (“The determination of what

 constitutes a ‘special circumstance’ is fact-intensive and largely left to the Magistrate Judge’s discretion,

 subject to the caveat that in order to qualify as ‘special’ a circumstance must be atypical.”).

         Fourth, as discussed above, there is a presumption against bail in extradition cases. Kin-Hong,

 83 F. 3d at 524. As such, Petitioners bear the burden of showing “both: 1) that [they are] neither a

 flight risk, nor a danger to the community; and 2) that there are special circumstances [that] justify

 release on bail.” In re Drumm, 150 F. Supp. 3d 92, 96 (D. Mass. 2015) (internal quotation marks and

 citation omitted).

II.      PETITIONERS HAVE NOT CARRIED THEIR BURDEN TO SHOW HABEAS
         OR INJUNCTIVE RELIEF IS WARRANTED

         A. Petitioners have not shown a substantial likelihood of success on the merits.

         Petitioners have not shown a substantial likelihood of success on the merits of their claims.

 Their independent probable cause arguments are not properly before the Court and lack merit.

 Moreover, Magistrate Judge Cabell reasonably found that Petitioners have not overcome the strong

 presumption against bail in international extradition cases.

                 1. Petitioners’ independent probable cause arguments are not properly before
                     the Court and lack merit.

         As stated above, habeas corpus relief is available only if the subject is “in custody in violation

 of the Constitution or laws or treaties of the United States.” 28 U.S.C. § 2241(c)(3). The federal

 extradition statute, 18 U.S.C. § 3184, plainly allows for the arrest of a fugitive, to remain in custody,

 until the extradition hearing, whereupon a probable cause determination will be made. See 18 U.S.C.

                                                      11
§ 3184. Pursuant to that statute, Petitioners are being held in custody pending their extradition

hearing. Accordingly, their detention is lawful.

         Petitioners ask this Court to engage in an independent probable cause analysis (Motion at 15-

24), outside the construct of their bail appeal and prior to the extradition hearing where Magistrate

Judge Cabell is statutorily required to make a probable cause determination. However, Petitioners cite

no case, and the government is aware of none, where a habeas court sanctioned such an end-run

around the extradition proceedings. The Court should decline to be the first to do so.

         As a threshold matter, Petitioners have not disputed Magistrate Judge Cabell’s finding that

Japan’s submission of its formal extradition requests mooted their claim that they were unlawfully

arrested based on Japan’s provisional arrest requests. See Op. at 2-3 (citing, inter alia, Martinez v. United

States, 828 F.3d 451, 470 (6th Cir. 2016) (en banc)).12 Further, Petitioners’ claim that the evidence

contained in the formal extradition requests does not establish probable cause is unambiguously an

issue for Magistrate Judge Cabell to decide in the first instance. See, e.g., United States v. Kin-Hong, 110

F.3d 103, 109 (1st Cir. 1997) (“If a warrant issues, the judicial officer then conducts a hearing to

determine if ‘he deems the evidence sufficient to sustain the charge under the provisions of the proper

treaty.’”) (quoting 18 U.S.C. § 3184). Under controlling Supreme Court precedent, if Magistrate Judge

Cabell finds that probable cause exists, Petitioners may then seek habeas review to determine if there

was “any evidence” supporting that finding. See Fernandez, 268 U.S. at 312; cf., e.g., Molton v. Gronolsky,

No. 13-cv-12397, 2014 WL 3828897, at *2 (D. Mass. July 31, 2014) (“[A] federal pretrial detainee must

first exhaust other available remedies to be eligible for habeas corpus relief under Section 2241[.]”)

(collecting cases). Accordingly, Petitioners’ attempt to bypass the extradition hearing should be


12Petitioners similarly did not contest this fact at the TRO hearing. See Ex. L (07/08/20 Hr’g Tr. at 16:14-17:18). To the
extent that the Court finds the issue is not moot, the government respectfully refers the Court to its briefing before
Magistrate Judge Cabell. See EX DE 23 at 31-39.
                                                             12
rejected. But regardless, their probable cause arguments are meritless and should be rejected for the

same reasons discussed below with respect to their bail appeal.

                2. Magistrate Judge Cabell properly found Petitioners did not overcome the
                   strong presumption against bail in international extradition cases.

        Turning to the issue that is properly before this Court—whether Petitioners should remain

detained pending extradition proceedings—-Magistrate Judge Cabell reasonably found that they had

not overcome their burden to show special circumstances warranted release and that they were not

flight risks. That determination should not be disturbed on habeas review.

                     a. Magistrate Judge Cabell properly found Petitioners had not carried their
                        burden to show special circumstances warranted their release.

                         (i) Petitioners have not shown a high likelihood of success, even if such
                             a factor could theoretically constitute a special circumstance.

        Magistrate Judge Cabell properly rejected, as a purported special circumstance warranting

release, Petitioners’ claim that they have a high likelihood of success on the merits of their extradition

defenses (Motion at 30-31). As a threshold matter, “most courts hold that arguments regarding the

substantive merits of an extradition request are properly raised at the fugitive’s extradition hearing and

are immaterial to [the] prior bail determination.” United States v. Risner, No. 3:18-mj-765, 2018 WL

6809796, at *12 (N.D. Tex. Dec. 27, 2018) (collecting cases); see also, e.g., In re Extradition of Lui, 913 F.

Supp. 50, 55 (D. Mass. 1996) (likelihood of success “does not qualify as a special circumstance in

foreign extradition cases.”). While the First Circuit has noted that “[o]ther courts” have considered

“a high probability of success” on the merits to be a special circumstance, it has not adopted that view.

Kin-Hong, 83 F.3d at 524. However, even presuming as Magistrate Judge Cabell did, that this might

theoretically constitute a special circumstance, Petitioners’ defenses are meritless.




                                                     13
Petitioners do not have a high likelihood of success in defeating extradition based on their
claim that Japan has not charged or sought their arrest under Article 103.

         Petitioners do not have a high likelihood of success of defeating extradition based on their

assertion that Japan has not sought their arrests under Article 103 of the Japanese Penal Code or

charged that offense (Motion at 15, 23-24). While the arrest warrants do not refer to the Penal Code

provision by number, consistent with Japanese practice, they include the name of the offense

corresponding to a violation of Article 103—犯⼈隠避 (“han-nin-inpi”)—which can be translated as either

harboring of criminals or enabling the escape of criminals. See Ex. I (original warrant); Ex. J (renewed

warrant); Ex. M (Watanabe Decl. ¶7 n.1).13 Indeed, Petitioners acknowledge that the named offense

is the title of Article 103. See Motion at 6; see also Ex. O (Japanese treatise submitted by Petitioners at

DE 2-17 noting that “Harboring of Criminals” is the title of Article 103). The fact that the arrest

warrants do not contain a numeric reference to the statute does not mean they do not include Article

103. To the contrary, Japan has confirmed that the arrest warrants cover Article 103 and that citing

the offense by name rather than by number is consistent with Japanese law and practice. See Ex. N

(Watanabe Second Supp. Decl. ¶¶3, 5) (citing textbook of warrant practices). Further, the same day

the arrest warrants were issued, the Tokyo District Public Prosecutors Office issued a press release

announcing the fact that arrest warrants had issued for Petitioners based on their alleged violation of

“Enabling the escape of criminals, Article 103 of the Penal Code.” See Ex. P (Watanabe Supp. Decl.

¶4).14


13
   Specifically, the name of the Article 103 offense is identified in the first sentence of the Tokyo District Public Prosecutor
Office’s Request for an Arrest Warrant (“Request”), which is appended to the arrest warrant. See Exs. I, J. Incorporating
the Request by appending it to the arrest warrant is consistent with Japanese practice. See Ex. N (Watanabe Second Supp.
Decl. ¶2) (“An arrest warrant may be prepared by appending the written request for said arrest warrant”) (citing
Article 145 of Japan’s Rules of Criminal Procedure).
14
   Petitioners also note the fact that the investigation reports included in the extradition request do not cite Article 103.
But just like in the U.S., there was no requirement that Japanese investigative documents cite all the offenses which
ultimately form the basis of the arrest warrants. As Japan explains, the investigative reports reference Ghosn’s suspected
immigration offense because “the investigation was initiated in response to Ghosn’s illegal departure.” See Ex. N
                                                                14
         Similarly meritless is Petitioners’ claim that extradition should be denied because Japan

purportedly did not include in its extradition request a “charging instrument” establishing that they

have been “charged” with violating Article 103 (Motion at 23-24). This claim fails for the threshold

reason that the Treaty does not require Japan to submit a “charging instrument” or otherwise

condition extradition on proof that charges have been filed. As a result, Petitioners’ claim falls outside

the scope of habeas review. See, e.g., In re Assarsson, 635 F.2d 1237, 1241 (7th Cir. 1980) (“The existence

of formal charges can be reviewable, then, only if the treaty itself conditions extradition for the

offenses listed in Article II on the existence of formal charges.”). Here, the Treaty clearly sets forth

the documentary requirements for the country seeking extradition and a charging document is not

listed therein. See Treaty, Art. VIII. Indeed, the Treaty does not use the term “charge” at all. This

was no accidental omission. There is a split amongst extradition treaties regarding the inclusion of a

required charging document, even amongst treaties that were signed around the same time. Compare,

e.g., Extradition Treaty with the Republic of Colombia, U.S.-Colom., Sept. 14, 1979, S. TREATY DOC.

NO. 97-8 (1981), Art. 9(3)(a) (request for extradition shall be accompanied by “[a] copy of the

indictment or its equivalent.”). The United States and Japan decided their extradition treaty should

not include a charging document requirement. See, e.g., Assarsson, 635 F.2d at 1243 (“If the parties had

wished to include the additional requirement that a formal document called a charge be produced,

they could have so provided.”).15




(Watanabe Second Supp. Decl. ¶8). The facts uncovered during that investigation gave rise to the charged Article 103
offense.
15
   Even if there were any ambiguity as to what the Treaty requires, well-established canons of treaty construction mandate
that it be construed liberally, and therefore not to impose an extra-textual charging document requirement. See, e.g., Factor
v. Laubenheimer, 290 U.S. 276, 293-94 (1933) (“[I]f a treaty fairly admits of two constructions, one restricting the rights
which may be claimed under it, and the other enlarging it, the more liberal construction is to be preferred.”); Grin v. Shine,
187 U.S. 181, 184 (1902) (extradition treaties should be “interpreted with a view to fulfil our just obligations to other
powers”); Kin-Hong, 110 F.3d at 110 (“[E]xtradition treaties, unlike criminal statutes, are to be construed liberally in favor
of enforcement . . . .”).
                                                             15
         The caselaw is clear and uniform on this issue: “Every court that has addressed this issue has

concluded that a formal charging document is not required as a condition precedent for extradition.”

In re Extradition of Handanovic, 829 F. Supp. 2d 979, 987 (D. Or. 2011) (internal quotation marks

omitted) (collecting cases); Emami v. U.S. Dist. Court, 834 F.2d 1444, 1448 (9th Cir. 1987) (“The

Seventh Circuit’s reasoning [in Assarsson] demonstrates that grafting such a requirement as Emami

proposes on to the treaty in the instant case is inadvisable.”); Assarsson, 635 F.2d at 1243 (“If the

parties had wished to include the additional requirement that a formal document called a charge be

produced, they could have so provided.”); In re Lam, 2009 WL 1313242, at *3 (E.D. Cal. May 12, 2009)

(rejecting fugitive’s argument that “since no charges are pending against him, extradition should be

denied on that basis”); Kaiser v. Rutherford, 827 F. Supp. 832, 834 (D.D.C. 1993) (“[N]o court has ever

held that the filing of formal charges is a prerequisite for extradition under the Treaty.”). Petitioners

cite no case, and the government is aware of none, where a court has granted habeas relief in the

extradition context based on the absence of a charging document where the extradition treaty does

not require production of such a document.

         Moreover, even if the Court were to depart from the clear and uniform caselaw and accept

Petitioners’ extra-textual argument that a charging document was required, the arrest warrants

(inclusive of the appended requests for their issuance) would satisfy any such requirement.16                    The

warrants identify Petitioners, recite the charged offenses,17 and provide a description of the facts

underlying the alleged offenses. The fact that the warrants might not adhere to all the rituals of a U.S.-

style charging document is immaterial. See, e.g., Glucksman v. Henkel, 221 U.S. 508, 512 (1911) (“It is



16 Indeed, based on the same document, Petitioners acknowledge in their Petition that they have been charged with an

immigration offense. See Pet. ¶2 (“the Japanese government’s only actual charge asserts that the Taylors aided in a
misdemeanor immigration offense”) (emphasis added).
17 Japan itself uses the term “charged offense” in the context of arrest warrants. See Ex. N (Watanabe Second Supp.

Decl. ¶¶2, 8).
                                                            16
common in extradition cases to attempt to bring to bear all the factitious niceties of a criminal trial at

common law. But it is a waste of time.”); Sainez v. Venables, 588 F.3d 713, 717 (9th Cir. 2009) (finding

Mexican arrest warrant could constitute a charging document even if it was not analogous to a U.S.

indictment based on “established approach of giving credence to foreign proceedings”). Requiring

anything more of Japan would not only be inconsistent with the plain terms of the Treaty but would

also improperly interfere with its domestic criminal procedures to which they have adhered in this

case. See Ex. N (Watanabe Second Supp. Decl. ¶6) (explaining Japan’s criminal process with respect

to fugitives such as Petitioners).

Petitioners do not have a high likelihood of success in defeating extradition based on their
claim that their conduct falls outside the scope of Article 103.

         In addition to their procedural claims, Petitioners argue that their conduct does not fall within

the substantive scope of Article 103 (Motion at 18-23). But even Petitioners appear not to be so sure.

Before Magistrate Judge Cabell, they not only stated that the issue was “close and complicated,” EX

DE 28 at 8, but also conceded that “Article 103 might apply to the alleged actions by the Taylors in

harboring Mr. Ghosn or enabling his escape from apprehension once he had committed the

immigration offense with which Japan has charged him,” EX DE 28 at 13. In any event, Petitioners’

claims are meritless.

         First, Article 103’s applicability is evidenced by the statute’s plain language, which covers a

person who “harbors or enables the escape of another person who has either committed a crime

punishable with a fine or greater punishment or has escaped from confinement.” Ex. M (Watanabe

Decl. ¶8). Here, Petitioners allegedly enabled the escape of another person (Ghosn) who was under

indictment for crimes punishable with a fine or greater punishment.18 Accordingly, Article 103 plainly


18
   Japan has confirmed, with supporting caselaw, that Article 103 applies to persons who have enabled the escape of
criminal defendants under indictment but who are not yet convicted. See Ex. Q (Yoshida Decl. ¶7).
                                                           17
applies. Cf., e.g., Jimenez v. Quarterman, 555 U.S. 113, 118 (2009) (“It is well established that, when the

statutory language is plain, we must enforce it according to its terms.”).

        Second, the Japanese Supreme Court has held that the crime of enabling the escape of criminals

“intends to punish a person who interferes with the criminal justice system in a broad sense, such as

investigations, court proceedings and executions of sentences.” See Ex. Q (Yoshida Decl. ¶6) (citing

Judgment of Supreme Court, May 1, 1989 Kei-shu vol.43, No.5, p.405) (emphasis added). It is

undisputed that Petitioners interfered with Japan’s criminal case against Ghosn by enabling him to

escape to Lebanon. Petitioners’ narrow construction of Article 103 conflicts with the Japanese

Supreme Court’s instruction that Article 103 should be interpreted broadly.

        Third, consistent with the Japanese Supreme Court’s instruction, both Japan and the treatise

submitted by Petitioners note that “‘[e]nable to escape’ refers to all acts that hinder arrest or discovery

by authorities by methods other than harboring.” See Ex. O (Japanese treatise submitted by Petitioners

at DE 2-17); Ex. M (Watanabe Decl. ¶9). Petitioners’ efforts to smuggle Ghosn out of Japan in a box

aboard a private jet to a country that lacks an extradition treaty with Japan fits comfortably within this

interpretation of the statute. Indeed, the whole purpose of the operation was to avoid detection and

arrest by Japanese authorities. As Japan points out, “if Ghosn had not concealed himself and tried to

openly depart Japan from an airport in the regular manner” then “he would have been certainly noticed

at the immigration inspection and his bail would have been rescinded.” See Ex. N (Watanabe Second

Supp. Decl. ¶7). Thus, while Petitioners may be correct that “Japanese police were not actively

pursuing Ghosn” at the time of his escape (Motion at 20), that is largely due to the elaborate steps

taken by Petitioners to conceal his flight. In short, Article 103 applies because Petitioners “enabled

Ghosn to avoid detection by government officials, to avoid the rescission of bail and arrest, and to



                                                    18
avoid the criminal prosecution by the series of acts described in the extradition requests.” See Ex. N

(Watanabe Second Supp. Decl. ¶7).

         Fourth, Petitioners’ attempt to confine Article 103 to situations where the escapee is “fleeing

the scene of a crime or breaking out of a detention facility” (Motion at 20-21) simply does not square

with the cases cited by Japan that do not fit either category. See Ex. Q (Yoshida Decl. ¶8). Indeed, in

one of Japan’s cited cases, the escapee was presumed dead and there was no warrant for his arrest. Id.

Notably, Petitioners have not cited in their Motion any case where a Japanese court rejected the

application of Article 103 under any fact pattern.

         Petitioners place heavy emphasis on the fact that “bail jumping” is not a crime in Japan, but

as Magistrate Judge Cabell found, that fact is “immaterial and would appear to have no bearing on

whether the respondents may be prosecuted as principals for harboring or enabling the escape of

someone who committed a crime.” See Op. at 9-10. This is confirmed by the Japanese Ministry of

Justice’s Director of the Legislative Division, Masayuki Yoshida, who has been involved in the “bail

jumping” legislative discussions. See Ex. Q (Yoshida Decl. ¶¶10-11).19

         Petitioners also errantly argue that their claims are supported by the fact that the arrest

warrants include the term 逃走 (“toso”) in the factual summary and, according to Petitioners, “toso”

can only mean escape from a detention facility (Motion at 21). As Japan explains, the factual summary

appropriately includes both the terms “inpi” and “toso,” and the term “toso” applies more broadly than

Petitioners claim in this context. See Ex. N (Watanabe Second Supp. Decl. ¶9). As support for this

fact, Japan has cited an example of another Article 103 case where the term “toso” was used, despite

the fact that the escapee was not breaking out of a detention facility. Id.


19Before Magistrate Judge Cabell, the government provided several unrefuted analogies to federal obstruction of justice
offenses that are not predicated on establishing a separate offense. See, e.g., 18 U.S.C. § 1001; 18 U.S.C § 1512; 18 U.S.C
§ 1621.
                                                            19
         According to Petitioners, their proposed expert is “neutral,” Public Prosecutor Naoki

Watanabe is biased, and that by giving insufficient credit to their expert Magistrate Judge Cabell

improperly shifted the probable cause burden to them. In fact, Petitioners have not explained how

their expert is “neutral,” extradition courts properly rely on foreign prosecutor declarations (just as

foreign courts routinely rely on declarations from U.S. prosecutors in the reciprocal context),20 and, in

any event, Japan has now submitted a declaration from the Ministry of Justice’s Director of the

Legislative Division who is not involved in the case, and which supports Public Prosecutor Naoki

Watanabe’s statements. See Ex. Q (Yoshida Decl. ¶¶1, 3). In addition, Magistrate Judge Cabell

considered and rejected their expert’s argument that Article 103 does not apply because bail jumping

is not a crime. See Op. at 8-10. And contrary to Petitioners’ claim, Magistrate Judge Cabell did not

shift the burden, or even render, a probable cause determination—which, as discussed above, is the

subject of the extradition hearing—but rather considered whether Petitioners had shown a high

likelihood of success on the merits for purposes of detention.

Petitioners have not established a high likelihood of success on the merits regardless of the
degree of deference the Court accords to Japan’s interpretation of its own laws.

         Petitioners argue that Animal Science Products, Inc. v. Herbei Welcome Pharmaceutical Co. Ltd., 138

S. Ct. 1865 (2018), and Federal Rule of Civil Procedure 44.1, provide the framework for interpreting

foreign law for habeas petitions in the extradition context (Motion at 12-13). As discussed in more

detail below, that is incorrect. But this Court need not wade into that thicket because Petitioners have

not established a high likelihood of success on the merits of their extradition defenses regardless of

the degree of deference accorded to Japan’s interpretation of its own laws. As stated above,


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  See, e.g., In re Extradition of Schumann, No. 18 CR 283, 2018 WL 4777562, at *4 (N.D. Ill. Oct. 3, 2018). Also, contrary to
Petitioners’ claim, the fact that the declarations are unsworn is immaterial because they have been properly authenticated
pursuant to 18 U.S.C. § 3190 (with diplomatic submission to follow) and therefore “shall” be admissible in extradition
proceedings. See 18 U.S.C. § 3190.
                                                               20
Petitioners’ claims are not supported by the Japanese arrest warrants, the plain language of Article 103,

Japanese caselaw and criminal procedures, or U.S. extradition caselaw. Thus, even if the Court applied

Animal Science and only accorded the declarations submitted by Japan “respectful consideration,” 138

S. Ct. at 1869, or “substantial but not conclusive weight,” id. at 1875, Petitioners’ Motion and Petition

should still be denied.

        While Petitioners’ claims fail regardless, Animal Science, a domestic civil litigation, does not

control in the extradition context and where the foreign government confirms its interpretation of its

own laws through official diplomatic channels. More than a century ago, the Supreme Court held in

the extradition context that “it can hardly be expected of us that we should become conversant with

the criminal laws of [the country seeking extradition], or with the forms of warrants of arrest used for

the apprehension of criminals.” Grin v. Shine, 187 U.S. 181, 190 (1902). Since Grin, courts have

repeatedly rejected attempts by fugitives to defeat extradition based on claims regarding the foreign

country’s criminal laws and procedures. See, e.g., Noeller, 922 F.3d at 806 (“United States courts hearing

extradition requests have consistently expressed an unwillingness to interpret foreign law to invalidate

arrest warrants.”); Cornea v. U.S. Attorney General, 771 F. App’x 944, 947 (11th Cir. 2019) (relying on

the “authoritative statement” of the Greek government regarding its law to reject the fugitive’s

challenge to extradition based on the Greek statute of limitations, which had been based on a detailed

expert opinion); Sainez, 588 F.3d at 717 (“[W]e recognize the chance of erroneous interpretation is

much greater when we try to construe the law of a country whose legal system is not based on common

law principles.”) (internal quotation marks and citation omitted); Basic v. Steck, 819 F.3d 897, 901 (6th

Cir. 2016) (refusing to “second-guess” Bosnian government’s determination of what constitutes an

arrest warrant in Bosnia); Melia v. United States, 667 F.2d 300, 303 (2d Cir. 1981) (“We are . . . not



                                                   21
expected to become experts in the laws of foreign nations.”).21 Indeed, Petitioners have cited no case,

and the government is aware of none, where extradition was denied based on a fugitive’s opinion of

foreign law that contravenes the interpretation proffered by the foreign government seeking

extradition.22

         Contrary to Petitioners’ suggestion, extradition matters are not “especially” suited for an

independent analysis of foreign law. As the First Circuit has recognized, “[e]xtradition proceedings

are grounded in principles of international comity, which would be ill-served by requiring foreign

governments to submit their purposes and procedures to the scrutiny of United States courts.”

Koskotas v. Roche, 931 F.2d 169, 174 (1st Cir. 1991). Critically, unlike in domestic cases, fugitives have

the opportunity to raise foreign law defenses before the foreign courts following their extradition, and

those foreign courts are best suited to interpret their own law. See, e.g., Noeller, 922 F.3d at 806 (“If

[petitioner] thinks later developments in the Mexican courts have rendered his arrest warrant invalid,

that challenge belongs in a Mexican court.”).

         Particularly in light of the foregoing precedent, Animal Science is distinguishable in several

respects. First, in that case, the Court considered how much deference to accord an amicus brief

submitted by China’s Ministry of Commerce in connection with a domestic civil class-action suit, see

138 S. Ct. at 1867, rather than an extradition matter where Petitioners will have the opportunity to



21
   See, also e.g., In re Extradition of Nezirovic, No. 7:12-mc-39, 2013 WL 5202420, at *15 (W.D. Va. Sept. 16, 2013) (“It would
be a grave insult for this court to presume to tell the Government of Bosnia and Herzegovina what is or is not legitimate
under Bosnian law.”); Schumann, 2018 WL 4777562, at *4; In re Extradition of Blasko, No. 1:17-MC-00067, 2018 WL 6044921,
at *28-31 (E.D. Cal. Nov. 19, 2018); Schmeer v. Warden of Santa Rosa Cty. Jail, No. 3:14-cv-285, 2014 WL 5430310, at *5-6
(N.D. Fla. Oct. 22, 2014). Petitioners cite to Blasko v. Thomas, 2019 WL 1081209, at *7 (E.D. Cal. Mar. 7, 2019), but there
the court “first considered the declaration” submitted by the government seeking extradition and ultimately recommended
denial of the habeas petition.
22
   The principle that a foreign country should not be required to prove to a U.S. court that it is properly construing its
own laws is supported by general notions of international comity and “respect for the sovereignty of other nations.”
Assarsson, 635 F.2d at 1244. It is further supported by the prudential policy of avoiding the substantial risk that a U.S.
court might erroneously interpret the law of a foreign country. See id. (“The possibility of error warns us to be even more
cautious of expanding judicial power over extradition matters.”).
                                                                    22
raise arguments regarding Japanese law before the Japanese courts if extradited. Second, given the fact

that the case was a civil matter, the Court relied heavily upon Federal Rule of Civil Procedure 44.1, see

id. at 1874, but that Rule is inapplicable to 18 U.S.C. § 3184 extradition proceedings, which are not

civil actions. See, e.g., In re Smyth, 61 F.3d 711, 720 (9th Cir. 1995) (finding “rules of evidence and civil

procedure that govern” Article III proceedings “do not apply in extradition hearings”). Further, while

habeas review of an extradition court’s bail determination or certification order is civil in nature, such

review is narrower, not broader, than the Section 3184 proceeding itself. See, e.g., Fernandez, 268 U.S.

at 312. Third, the Court specifically distinguished an earlier case—United States v. Pink, 315 U.S. 203,

218 (1942)—where it treated as conclusive evidence of foreign law a declaration submitted by a foreign

country through official diplomatic channels. 138 S. Ct. at 1874-75. Here, like in Pink, the government

of Japan has expressed its view that Article 103 applies to Petitioners’ conduct through official

diplomatic channels by seeking their extradition for that offense and including in its formal request

the June 17, 2020 declaration of Public Prosecutor Naoki Watanabe explaining how Article 103

applies. Accordingly, this case is more like Pink than Animal Science.

         Fundamental principles of international comity loom large in this case. In the reciprocal

context, the United States would take great exception to a foreign court going beyond the carefully

negotiated terms of the extradition treaty, casting aside the U.S. government’s explanation of its own

procedural and substantive laws, overruling a probable cause determination made by a federal judge,23

and denying extradition based on what the fugitive perceived to be “close and complicated” issues of

federal law.




23
  Japan has confirmed that it similarly has a probable cause requirement for the issuance of an arrest warrant. See Ex. M
(Watanabe Decl. ¶5).
                                                            23
        For all these reasons, the Court should reject Petitioners’ claim that they have a high likelihood

of success on the merits of their extradition defenses.

                        (ii) Magistrate Judge Cabell properly found Petitioners’ other claims
                             were not special circumstances warranting their release.

        As set forth below, Magistrate Judge Cabell reasonably found that Petitioners’ other claims

did not constitute special circumstances warranting bail.

COVID-19 is not a special circumstance unique to Petitioners.

        Magistrate Judge Cabell reasonably found COVID-19 is not a special circumstance unique to

Petitioners. See Op. at 13-15; see also Drumm, 2016 WL 111411, at *3 (special circumstance “must be

more or less unique to the supplicant and not be one that is applicable to extraditees generally”). Peter

Taylor is 27 years old and has no reported health issues. While Michael Taylor has now provided

documentation of a prior lobectomy from several years ago, he has not submitted any recent medical

records reflecting the current state of his health and he was fit enough to engage in 89 days of around-

the-world travel earlier this year. In his Opinion, Magistrate Judge Cabell also found it significant that

no one in the unit where Petitioners are being housed at Norfolk County Correctional Facility

(“Norfolk”) has tested positive for the virus, and that Norfolk has made extensive efforts to ensure

the safety of its population. See Op. at 14. Conditions at Norfolk have only improved since the time

Magistrate Judge Cabell considered the matter. Currently, there are zero active cases of COVID-19

at Norfolk. See Ex. R (Declaration of Danielle Boomhower ¶21).

        The majority of extradition courts have rejected COVID-19 as a special circumstance

justifying release, including in cases where the fugitive has an underlying medical condition. See, e.g.,

Risner v. Fowler, No. 3:19-cv-03078, 2020 WL 2110579, at *4-5, 7 (N.D. Tex. May 1, 2020) (fugitive

was 76 years old and had a litany of health issues which he claimed put him at higher risk); Valentino

v. United States Marshal, No. 4:20-cv-304, 2020 WL 1950765, at *1 (S.D. Tex. Apr. 15, 2020) (fugitive
                                                   24
was 73 years old and had hypertension); Flynn v. Barr, No. 20-cv-60610 (S.D. Fla. 2020), DE 18

(denying fugitive’s motion for release based on COVID-19).24 Petitioners cite In re Toledo Manrique as

a counterexample. No. 19-mj-71055, 2020 WL 1307109, at *1 (N.D. Cal. Mar. 19, 2020). In that case,

the fugitive was 74 years old and claimed he was at risk of serious illness or death based on his

advanced age and hypertension. Id. at *1; see also Toledo Manrique, 2020 WL 2617368, at *1 (“Alejandro

Toledo’s Second Motion for Reconsideration of Detention Order”) (noting medical conditions).

Moreover, unlike here, the court in Toledo Manrique was concerned about the detention facility’s

potential lack of COVID-19 testing capabilities, and it found the risk of flight had been partially

mitigated. 2020 WL 1307109, at *1.

         Towards the end of their Motion, Petitioners raise a Fifth Amendment due process claim

based on the allegation that Respondents acted with “deliberate indifference” to their safety (Motion

at 36-38). However, such a claim is belied by: (1) Petitioners’ own prior statements acknowledging

that “[t]here are clear efforts being made” by Norfolk, see Ex. S (06/22/20 Hr’g Tr. 23:9-13); (2) the

declaration submitted by Assistant Deputy Superintendent Danielle Boomhower regarding Norfolk’s

robust protocols designed to ensure the safety of its population, see Ex. R (Boomhower Decl.); and

(3) Magistrate Jude Cabell’s factual finding that “the facility continues to employ significant measures

to ensure the safety of its population,” see Op. at 14.




24
   More generally, extradition courts routinely detain fugitives with serious health issues. See, e.g., Nezirovic, 990 F. Supp. 2d
at 601-02; United States v. Snyder, No. 13-mj-7082, 2013 WL 1364275, at *8 (D. Ariz. Apr. 3, 2013); United States v. Nolan,
No. 08–M–97, 2009 WL 4544699, at *3 (N.D. Ill. Dec. 1, 2009); Bolanos v. Avila, No. 09–1208, 2009 WL 3151328, at *4
(D.N.J. Sept. 24, 2009); United States v. Latulippe, No. 08-mj-59, 2008 WL 2704230, (D.N.H. July 3, 2008). Myriad courts
in this District and elsewhere have denied release to U.S. criminal defendants based on COVID-19, even where such
defendants had underlying health issues and the more liberal standards of the Bail Reform Act applied. See, e.g., United
States v. Hardy, No. 18-cr-10261, 2020 WL 3495505, at *1-2 (D. Mass. June 26, 2020); United States v. Perez, 15-10256, 2020
WL 1991161, at *4 (D. Mass. Apr. 22, 2020); United States v. Guzman, 15-cr-10338, 2020 WL 1974332, at *3 (D. Mass. Apr.
24, 2020); United States v. Oladimu, 1:01-cr-10198, 2020 WL 1866253, at *2 (D. Mass. Apr. 14, 2020); Boyer v. United States,
14-cr-10163, 2020 WL 1978190, at *2 (D. Mass. Apr. 24, 2020).
                                                              25
The Lebanese proceedings do not constitute special circumstances.

         Magistrate Judge Cabell reasonably concluded that the fact a Lebanese prosecutor “close[d]

the case” after a family member of Petitioners asked the prosecutor to “proceed with the

investigation” did not constitute a special circumstance. See Op. at 11-12.25 Under Article IV, Section

2 of the Treaty, the United States “may refuse extradition when the person sought has been tried and

acquitted . . . in a third State for the offense for which extradition is requested.” See Treaty, Art. IV,

Section 2. This permissive grounds for extradition denial falls exclusively within the domain of the

Secretary of State to consider. See, e.g., Vo v. Benov, 447 F.3d 1235, 1247 (9th Cir. 2006) (judicial officer

“has no discretionary decision to make.”) (citation omitted); Patterson v. Wagner, 785 F.3d 1277, 1281

(9th Cir. 2015) (Secretary of State decides issues for which “there is no mandatory duty that a court

may enforce.”). In any event, Petitioners have not shown, as they must, that they were actually “tried

and acquitted” in Lebanon for the same offense for which Japan seeks their extradition.26

Michael Taylor’s family responsibilities are not a special circumstance warranting his release.

         Magistrate Judge Cabell also properly concluded that Michael Taylor’s family responsibilities

did not constitute a special circumstance. See Op. at 12-13; see also, e.g., Lo Duca v. United States, No.

95-cv-713, 1995 WL 428636, at *15, 16 (E.D.N.Y. July 7, 1995) (“A review of the case law has failed

to uncover any case in which the poor health of a member of the relator’s family has been held to be

a special circumstance sufficient to warrant the granting of bail.”) (collecting cases); In re Extradition of

Budrys, No. 19-M-179, 2019 WL 1958566, at *6 (N.D. Ill. May 2, 2019); United States v. Snyder, No. 13-

7082, 2013 WL 1364275, at *7 (D. Ariz. Apr. 3, 2013). While Michael Taylor claims that he is the sole


25 It bears noting that while Petitioners express concern about “upsetting the United States’ relationship with Lebanon”

(Motion at 34), they dismiss sensitivities in U.S.-Japanese relations as “sensational hyperbole” (Motion at 1).
26
   According to Petitioners, on February 17, 2020, Michael Taylor’s oldest son asked a Lebanese prosecutor to proceed
with an “investigation regarding the alleged unlawful departure of Mr. Carlos Ghosn from Japan on December 2019, in
order to prove the innocence of his father Michael and his brother Peter.” See DE 38-26. The very same day, the
Lebanese prosecutor decided “to close the case.” Id.
                                                              26
caregiver for his 81-year-old adoptive stepfather, that fact did not deter him from leaving

Massachusetts for 89 days of around-the-world travel earlier this year. Michael Taylor must also have

surely appreciated the risk that he could be detained in Japan for a lengthy period of time if he were

caught enabling Ghosn’s escape, and so it is reasonable to assume that the “arrangements” he says he

made in advance of his travels (Motion at 33) anticipated such contingency. In any event, Michael

Taylor concedes that his middle son and neighbors are caring for his stepfather. See EX DE 17 at 32.

        In addition, Magistrate Judge Cabell properly determined that Petitioners did not create a

special circumstance by combining their claims that individually are not special circumstances. See Op.

at 15; see also, e.g., Budrys, 2019 WL 1958566, at *6; Risner, 2018 WL 6809796, at *22; Nezirovic, 990 F.

Supp. 2d at 605; Drumm, 150 F. Supp. 3d at 100; In re Extradition of Kyung Joon Kim, No. 04-cv-3886,

2004 WL 5782517, at *6 n.6 (C.D. Cal. July 1, 2004).

            b. Magistrate Judge Cabell properly found Petitioners have not carried their
               burden to show they are not flight risks.

        Magistrate Judge Cabell also properly found that Petitioners had not carried their burden to

show they are not flight risks. As Magistrate Judge Cabell noted, their facilitation of Ghosn’s escape

was an “intricate, sophisticated, and deceptive scheme spanning several countries and most surely

requiring massive expenditures of time and money.” See Op. at 17. Petitioners essentially ask this

Court to trust them that they would not deploy their tradecraft to escape now that their own liberty is

at stake. The strong presumption against bail in international extradition cases does not permit such

a leap of faith. Moreover, there are several additional reasons why Magistrate Judge Cabell’s flight risk

finding is supported, as set forth below.

        First, Petitioners have the resources with which to flee. The evidence uncovered thus far

reflects that the Ghosn family has made payments to Petitioners in excess of $1.3 million and Ghosn

has publicly stated that he is financially assisting “everyone who stood by me.” See Exs. A-D. Further,
                                                   27
the escape plot itself, involving several advanced planning trips to Japan, multiple hotel rooms in

different cities, bullet train travel, a “bundle of 10,000 yen bills” intended for the airport workers, and

ultimately the chartering of a private aircraft at a cost of $350,000, further underscores Petitioners’

access to resources with which to flee. Moreover, Petitioners can remain comfortably in Lebanon for

an indefinite period of time to avoid the justice systems of Japan and the United States. They already

own a residence there and they are in the process of expanding their business within the Lebanese

market. See EX DE 17 at 6.

         Second, with respect to Michael Taylor in particular, he was previously deemed to be a flight

risk and danger to the community in connection with a domestic criminal case. In that case, Michael

Taylor ultimately pled guilty to honest services wire fraud based on his participation in a bribery

scheme whereby he agreed to give a 24-year veteran of the FBI money, a job, and equity in multimillion

dollar contracts in exchange for that FBI agent impeding a grand jury investigation into Michael

Taylor.27 Prior to pleading guilty, Michael Taylor appealed the denial of bail up to the Tenth Circuit,

which held “[t]he government offered ample evidence that Mr. Taylor presents a flight risk,” that

“[t]he government presented evidence of the extent to which Mr. Taylor was willing to go to derail

the investigation and prosecution of the first indictment against him,” and that “further attempts to

obstruct justice cannot be assured by conditions of release.” See United States v. Taylor, Nos. 12-4186

& 12-4187, 2013 WL 2466627, at *1 (10th Cir. June 10, 2013).

         Michael Taylor continued to seek bail after the Tenth Circuit’s decision and a subsequent order

by the district court denying that request is highly instructive. See United States v. Michael Taylor, No.

12-cr-00502 (D. Utah Aug. 22, 2013), DE 351 (“Order”), attached hereto as Ex. T. The Order notes



27
  The facts of the case and plea are set forth in the Government’s Sentencing Memorandum. See United States v. Michael
L. Taylor, No. 2:12-cr-645 (D. Utah), DE 1011.
                                                           28
that Michael Taylor is a permanent resident of Lebanon, his wife is a Lebanese citizen, he has a home

in Lebanon, and that the United States does not have an extradition treaty with Lebanon. Id. at 11.

The Order emphasizes the fact that Michael Taylor “has the knowledge, skills, and access to resources

that would be highly useful to him in an effort to leave the United States if he so chooses.” Id. at 12.

In fact, “Mr. Taylor’s business website touts its airport security system expertise including ‘the latest

electronic detection and surveillance systems’ and describes the vulnerability of ports.” Id. at 13. The

court then proceeded to explain why each of the release conditions offered by Michael Taylor could

not reasonably assure his appearance.28 The fact that Michael Taylor was found to be a flight risk and

danger to the community in a domestic criminal case strongly weighs in favor of detention here,

particularly given the considerably more exacting standards for release in international extradition

proceedings.

         Third, with respect to Peter Taylor in particular, he admits that he has “spent the majority of

the past 15 months residing with his older brother in Lebanon” and conducting his business. See EX

DE 17 at 29-30. Further, Peter Taylor says he engages “in business travel primarily to the United

Arab Emirates,” which is another country that lacks an extradition treaty with Japan or the United

States. Id. at 30. Critically, Peter Taylor was arrested on the same day he was due to fly home to

Lebanon, purportedly to “carry on with his life and conduct his business.” Id. at 30. Peter Taylor

thus has every incentive to flee so that he can resume his life in Lebanon. See, e.g., United States v.

28 In an effort to secure his release in that case, Michael Taylor offered the following conditions: Surrender of his and his
family’s passports, GPS monitoring, restricted travel to Massachusetts and Utah, forfeit of $5.2 million seized by the
government, his father’s house as collateral, and waiver of extradition. Order at 13-15. Finding the surrender of passports
inadequate, the court reasoned that Michael Taylor had “access to elite security professionals, experience bribing foreign
nationals, and knowledge of entry and exit point security system vulnerabilities, [which] render[ed] traditional bail
provisions such as surrendering one’s passport ineffective.” Id. at 13. Finding a GPS monitoring bracelet insufficient, the
court ruled that “[g]iven Mr. Taylor’s planning skills, experience with clandestine operations, the ease with which he travels
internationally, likely access to funds necessary to travel, and a reported willingness to bribe officials, his ability to evade
law enforcement (whether he leaves the country through special channels or not) is substantial.” Id. at 14. Given Michael
Taylor’s financial resources, the court found that the other conditions were also insufficient to reasonably assure his
appearance. Id. at 14-15.
                                                               29
Yassine, 574 F. App’x 455, 460 (5th Cir. 2014) (affirming the district court’s detention order, finding

that the defendant “(1) was a world traveler, at home in many countries, and fluent in multiple

languages; [and] (2) had family in Lebanon (a country with which there is no extradition agreement)”).

It also bears noting that the $1.3 million in payments from Ghosn and his family members have been

sent to Peter Taylor and his company.

         In arguing that they are not flight risks, Petitioners seek credit for the fact that they could have

prolonged their stay in Lebanon but eventually returned to Massachusetts despite knowing the risks

of such decision.29 As other courts have found, however, this fact is not dispositive. See, e.g., In re

Extradition of Azizi, Case No. 5:14-xr-90282, 2014 WL 1995083, at *3 (N.D. Cal. May 13, 2014) (“[The

fugitive] points out that he willingly came here to the United States (which has an extradition treaty

with Germany) from Dubai (which does not). Still, the record presented indicates that he avoided

returning to Germany . . . after learning that he was a target of a tax fraud investigation in the same

case.”); see also, e.g., In re Extradition of Schumann, No. 18-cr-283, 2018 WL 4777562, at *6 (N.D. Ill. Oct.

3, 2018 (finding “fact that [the fugitive] may have been living openly is not sufficient to overcome the

presumption against bail”). There are any number of reasons why Petitioners may have returned to

the United States that do not bear on their current flight risk. For example, they may have simply

believed that they were above the law, and their brazen acts in Japan just a few months earlier provide

strong support for this theory. They may also have believed that the chances of extradition were

remote at best, given that Japan had not yet submitted provisional arrest requests, the United States

had not obtained arrest warrants, and a magistrate judge had not yet denied their motion to quash the



29
  Petitioners claim they returned to Massachusetts some weeks after one of their attorneys flew to Lebanon, in January
2020, to inform them that Japan had issued warrants for their arrests. The government notes that the Japanese arrest
warrants did not issue until January 30, 2020, and Petitioners’ attorney has not stated when in January 2020 he flew to
meet with Petitioners in Lebanon to discuss the warrants. See DE 38-16.
                                                           30
provisional arrest warrants. Notably, in the case of Peter Taylor, his visit to the United States was

supposed to be temporary, as he was scheduled to return to Lebanon the day he was arrested.

Petitioners’ incentive to flee now that the prospect of extradition is no longer just theoretical is much

greater than it was prior to their arrests.

         Petitioners’ other arguments on flight risk fare no better. They claim they lack an incentive to

flee because of their family and community ties, as well as the fact that they face no more than two

years’ imprisonment in Japan (in fact, the maximum penalty for an Article 103 violation is three

years).30 However, their arguments are undermined by the fact that they willingly put their family

commitments in jeopardy by participating in Ghosn’s escape, and they have resisted returning to Japan

to face justice despite their purported winning Japanese legal defense. Strikingly, Michael Taylor also

claims that his prior conviction arising from his role in impeding a grand jury investigation against him

“demonstrates [his] respect for the law” (Motion at 27). Nothing could be farther from the truth.

While Michael Taylor says he complied with his prior conditions of release pending sentencing, his

subsequent criminal acts in Japan show that he has not reformed.31

         Moreover, as the Utah district court previously found with respect to Michael Taylor, there is

no foolproof way to ensure Petitioners do not flee, particularly given their expertise in the subject. See

Ex. T (Order at 13-15); see also, e.g., Risner, 2020 WL 2110579, at *4 (“GPS monitoring would not

alleviate the flight risk. An ankle monitor—even assuming one were available—can be removed.”);

Borodin v. Ashcroft, 136 F. Supp. 2d 125, 134 (E.D.N.Y. 2001) (affirming detention order and holding

that home confinement arrangements are “never one hundred percent infallible, and the presumption



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  See Ex. Q (Yoshida Decl. ¶5 n.1 (noting penalty was enhanced in 2016)).
31
  Michael Taylor’s claim that he voluntarily returned to the United States to face the prior domestic charges is inconsistent
with the government’s account of the facts. See United States v. Michael L. Taylor, 2:12-cr-00645 (D. Utah), DE 10 (United
States Motion for Pretrial Detention) at 26 (Michael Taylor’s “return must be described as reluctant, at best”).
                                                             31
against bail in extradition cases counsels against incurring even a small risk absent special

circumstances”).

        In short, Magistrate Judge Cabell reasonably concluded that Petitioners had not met their

burden to show they are not flight risks, and bail should be denied for this independent reason. See,

e.g., In re Extradition of Martinelli, 263 F. Supp. 3d 1280, 1304 (S.D. Fla. 2017) (the fugitive “poses such

a risk of flight that bail should not be contemplated for an extradition proceeding notwithstanding the

special circumstance involved in the extradition of a former head of state”).

        B. The balance of the equities does not favor injunctive relief.

        The public interest will be served by the United States complying with its binding treaty

obligations to Japan, as “[s]uch proper compliance promotes relations between the two countries, and

enhances efforts to establish an international rule of law and order.” Artukovic v. Rison, 784 F.2d 1354,

1356-57 (9th Cir. 1986). Conversely, “[n]o amount of money could answer the damage that would be

sustained by the United States were [Petitioners] to be released on bond, flee the jurisdiction, and be

unavailable for surrender, if so determined.” Jimenez v. Aristiguieta, 314 F.2d 649, 653 (5th Cir. 1963);

see also Wright v. Henkel, 190 U.S. 40, 62 (1903) (“The demanding government, when it has done all

that the treaty and the law require it to do, is entitled to the delivery of the accused on the issue of the

proper warrant, and the other government is under obligation to make the surrender; an obligation

which it might be impossible to fulfill if release on bail were permitted.”). Flight from extradition

proceedings is not just theoretical as fugitives have indeed successfully escaped during the pendency

of such proceedings. See, e.g., Parretti v. United States, 143 F.3d 508, 509 (9th Cir. 1998) (en banc). It

would add insult to injury if the very persons who enabled Ghosn’s escape were themselves able to




                                                    32
evade justice, and the United States was thereby unable to fulfill its treaty obligations to Japan.32

Further, while Petitioners claim irreparable injury from their continued detention, a preliminary

injunction, like a stay application, is “not a matter of right, even if irreparable injury might otherwise

result.” Nken v. Holder, 556 U.S. 418, 433-34 (2009). Petitioners’ irreparable injury claim also has

considerably less force given that the facts are undisputed and their Japanese legal defenses are

meritless. The true victim here is Japan, not Petitioners.

                                                CONCLUSION

        For the foregoing reasons, Petitioners’ habeas petition and motion for a preliminary injunction

should both be denied.

Date: July 22, 2020
                                                              Respectfully submitted,


                                                              ANDREW E. LELLING
                                                              United States Attorney

                                                     By:      /s/ Stephen W. Hassink
                                                              Stephen W. Hassink
                                                              Assistant United States Attorney

                                                              /s/ Philip A. Mirrer-Singer
                                                              Philip A. Mirrer-Singer
                                                              Trial Attorney




32
  Contrary to Petitioners’ suggestion otherwise, Japan is a strong treaty partner, as evidenced by recent examples of
successful extraditions. See, e.g., DOJ Press Release, “Japanese Investment Company Executives Extradited on Charges
Relating to $1.5 Billion Ponzi Scheme,” available at https://www.justice.gov/opa/pr/japanese-investment-company-
executives-extradited-charges-relating-15-billion-ponzi-scheme (last visited July 19, 2020).
                                                            33
                                CERTIFICATE OF SERVICE

        I, Stephen W. Hassink, Assistant U.S. Attorney, do hereby certify that on July 22, 2020, I
served a copy of the foregoing on all registered parties by electronic filing on ECF.

                                                            /s/ Stephen W. Hassink
                                                            Stephen W. Hassink
                                                            Assistant U.S. Attorney




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